      Case 1:15-cr-00010-RJA-HBS Document 198 Filed 03/22/19 Page 1 of 1



UNITED STATES DISTRICT COURT

WESTERN NEW YORK,BUFFALO                                                                      2 2 2;,

United States of America                                                             * ' v-
                                                                            £-j, .            '■ ■ '' •■v'   ^ V''
                                                                                          DiST RiC^
V



Charles Weber                                                15 or 00010



                         NOTICE OF INVALID ORDER

        The MOTION for a Judgment of Acquittal of September 4, 2018 (Docket No. 158) was

in response to the indictment of January 13, 2015. The indictment charged an offense of making

false statements, 26 USC 7206(1), two counts for 2006 and 2007.


        The DECISION AND ORDER of December 12, 2018 states the violation of 28 USC

7206(1).


        28 USC 7206 (I) does not exist. Title 28 code ends at Chapter 190 Section 5001,

Miscellaneous. As it stands the DECISION AND ORDER 15 CR 10 A is invalid until corrected.

There is a question of whether or this constitutes harmless error or if the govemment wants

another volunteer.



        Based on this information, there remains a question of whether the 30 month

incarceration sentence starting this Wednesday March 27, 2019 is valid and if the voluntary

surrender date is binding. Further directions to proceed are awaited from this court, volunteering

will not take place.




Charles Weber
25 Greenbrier Road
Snyder, New York 14226        716-839-9678
